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Exhibit A

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Case 09-11198-GMB Claim 43-1 Filed 06/08/09 Desc Main Document Page 1 of 10
B 10 (Official Form 10) (12/08)
UNITED STATES BANKRUPTCY COURT District of New Jersey PROOF OF CLAIM
‘Harlage Pahgate, Inc. ee Tee

administrative expense may be filed pursuant to 1] USC. £ 503.

NOTE: This form should not be used to make a claim for an administrative expense arising after the commencement oe

the case. A request for payment ofan

Q Check this box to indicate that this

If all or part of your claim is secured, complete item 4 below, however, if all of your claim is unsecured, do not complete
item 4,

If all or part of your claim is entitled to priority, complete item 5,

& Check this bax if claim includes interest or other charges in addition to the principal amount of claim, Attach itemized
statement of interest or charges. .

2, Basls for Claim:
(See instruction #2 on reverse side.) |

3. Last four digits of any number by which creditor identifies debtor:

3a, Debtor may have scheduled account as:
See instruction #3a on reverse side.

4. Secured Claim (See instruction #4 on reverse side.)
Check the appropriate box if your claim is secured by a lien on property or a right of setoff and provide the requested
information.

0 Other

Nature of property or right of setoff: o Real Estate O Motor Vehicle
Describe:

Value of Property:$ 73 Apoual Interest Rate %

Amount of arrearage and other charges as of time case filed included In secured clalm,

itany:s 13D Basis for perfection: _ Mortgage
Amount of Secured Claim: $ T2D A t Unsecured: $ TRD

6 Credits: The amount of all psymeats on this claim has been credited for the purpose of making this proof of claim.

DO NOT SEND ORIGINAL DOCUMENTS. ATTACHED DOCUMENTS MAY BE DESTROYED AFTER
SCANNING.

If the documents are not available, please explain:

Name of | i of other entity to whom the debtor owes money or property):

Wachovia Bort Reon ot Association claim amends a previously filed

Name and address where notices should be sent. claim.

Wachovia Bank, National Association, Attn: Karen Jamieson, 123 South Broad Street, Court Claim Number:
Philadelphia, PA 19109 (Uf known)

Telephone number:

(215) 670-6629 Filed on,

Name and address where payment should be sent (if differem trom above). 1 Check this box if you are aware that
anyone else has filed a proof of claim
relating to your claim. Attach copy of
Statement giving particulars.

Telephone number: C) Check this box if you are the debtor
of trustee in this case,

1, Amount of Claim as of Date Case Filed: $ 16,488, 124.60 5. Amount of Claim Entitled to

Priority under 1! U.S.C. §507(a). If
any portion of your claim falls in
one of the following categories,
check the box and state the
amount,

Specify the priority of the claim.

0 Domestic support obligations under
1 U.S.C. §507(aX IMA) or (at XB).

QO Wages, salaries, or commissions (up
to $10,950*) eamed within 180 days
before filing of the bankruptcy
petition or cessation of the debtor's
business, whichever is earlier — | |
U.S.C. §507 (a4).

Q Contributions to an employee benefit
plan — 11 U.S.C, §507 (ays).

D Up to $2,425°* of deposits toward
purchase, lease, or rental of property
Or services for personal, family, or
household use - 11 U.S.C. §507
(aX7).

Q Taxes or penalties owed to
governmental units - 11 U.S.C. §507
(a\8),

O Other ~ Specify applicable paragraph
of 11 U.S.C. §507 (a_).

Amount entitled to priority:

$

"Amounts are subject to adjustment on
1/10 and every 3 years thereafter with
respect to Cases commenced on or after
the date of adjustment.

Date; hag

éf / ‘address above. Attach - of power o

mey, if any.

(gor

ature: The person filing this claim must sign it. Sign and print name and tide, if any, of the creditor or
person authorized to file this claim and state address and telephone number if different from the notice

ean ermmmncanenraamrvenal
FOR COURT USE ONLY

Penalty for presenting fraudulent claim: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571.

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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF NEW JERSEY

In re:
Chapter 11

HERITAGE HIGHGATE, INC.,
Case No. 09-11198 (GMB)

Debtor. (Jointly Administered with 09-11197)

ADDENDUM TO PROOF OF CLAIM

In support of its Proof of Claim, Wachovia Bank, National Association, (“Wachovia” or
“Agent”), on behalf of itself and as Agent for PNC Bank, National Association (“PNC”) and
Sovereign Bank, FSB (“Sovereign” together with PNC, the “Lenders”) states as follows:

1. Wachovia is a national banking association which maintains an office at 123
South Broad Street, Philadelphia, PA 19109.

2. On January 20, 2009 (the “Petition Date”), Heritage Highgate, Inc. (“Highgate”)
and Heritage-Twin Ponds II, L.P. (“Twin Ponds” and together with Highgate, the “Debtors”)
each filed a voluntary petition for relief under chapter 11 of title 11 of the United States Code

(the “Bankruptcy Code”) with the United States Bankruptcy Court for the District of New Jersey

(the “Bankruptcy Court”).

3. The Debtors’ chapter 1] cases are being jointly administered pursuant to an Order
entered by the Bankruptcy Court on February 20, 2009. The Debtors are acting as debtors-in-

possession and operating their businesses as such.

4. An Official Committee of Unsecured Creditors (the “Committee”) was appointed

in these cases on or about January 29, 2009.
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5. The principal assets of the Debtors and collateral of the Agent and Lenders
consist of certain parcels of land located in Upper Macungie Township, Lehigh County,
Pennsylvania.

6. The Agent and Lenders are the primary secured creditors of the Debtors and hold
a first priority lien on the Collateral (as hereafter defined).

7. Agent, each of the Lenders and each of the Debtors are parties to that certain
Construction Loan Agreement dated as of September 26, 2005, which was subsequently
amended and restated pursuant to an Amended and Restated Construction Loan Agreement
September 18, 2007 (as amended from time to time and including all annexes, exhibits and
schedules thereto, collectively, the “Loan Agreement”), pursuant to which the Lenders agreed to
make cumulative advances to Highgate in the aggregate principal amount of up to $28,000,000
to finance that certain residential development Project located in Upper Macungie Township,
Lehigh County, Pennsylvania (the “Project”). About two years after the initial loan was made,
the cumulative advance amount was increased to $54,000,000.

8. The obligations under the Loan Agreement are evidenced by Promissory Notes
dated September 26, 2005 payable to: (a) Wachovia Bank, National Association, in the amount
of $9,520,000; (b) Sovereign Bank, in the amount of $9,240,000; and (c) PNC Bank, National
Association, in the amount of $9,240,000.

9, To secure the obligations of Highgate under the Loan Agreement, Highgate
executed that certain Open End Mortgage and Security Agreement dated as of September 26,
2005, in favor of Agent (the “Highgate Mortgage”), pursuant to which Highgate granted the
Agent a lien on and security interest in certain real property located in Upper Macungie

Township, Lehigh County, Pennsylvania (the “Highgate Real Property”) together with, inter
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alia, any and all buildings and improvements erected thereon, fixtures, appliances, machinery
and equipment and other personal property, building materials, fixtures, building machinery and
building equipment located thereon, the proceeds or replacements of any of the foregoing, and all
contract rights in all agreements of sale affecting the Highgate Real Property or any part thereof
(the “Highgate Personal Property” and together with the Highgate Real Property, the “Highgate
Collateral”), The Highgate Mortgage was recorded in the Office of the Recorder of Deeds of
Lehigh County, Pennsylvania on September 30, 2005, Document Id. 7294993,

10. To further secure the obligations of Highgate under the Loan Agreement,
Highgate executed that certain Collateral Assignment of Agreements Affecting Real Estate dated
as of September 26, 2005 (the “Highgate Assignment of Real Estate Agreements”), pursuant to
which Highgate assigned to Agent all of its right, title and interest in and to all licenses,
contracts, subcontracts, agreements, service agreements and agreements of purchase and sale
related to the Highgate Real Property (the “Additional Highgate Collateral” and collectively with
the Highgate Collateral, the “Collateral”). The Highgate Assignment of Real Estate Agreements
was recorded in the Office of the Recorder of Deeds of Lehigh County, Pennsylvania on
September 30, 2005, Document Id. 7294994.

11, The Agent perfected its security interests in and liens on the Collateral by
recording in the office of the Recorder of Deeds of Lehigh County the Highgate Mortgage and
the Highgate Assignment of Real Estate Agreements.

12. _ As of the Petition Date, the total, aggregate amount owed by the Highgate to the
Agent and Lenders under the Loan Documents is $1 6,488, 124.60, inclusive of $1,928,272.51 of
undrawn letters of credit and $6,421.65 of letter of credit commissions and facing fees, plus fees

and expenses, including legal fees and expenses (collectively, the “Claim Amount”).
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13. The amounts due and owing to the Agent and each of the Lenders, as of the

Petition Date, are as follows:
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Lender/Agent | Approximate | Pro Rata Share of
Percentage Claim Amount
Interest in (In Dollars)
Loan
Wachovia 34.0% $ 5,606,492.18 |
PNC 33.0% $ 5,440,816.22
Sovereign 33.0% $ 5,440,816.20
TOTAL 100% $16,488, 124.60

14. Copies of documentation evidencing Wachovia's claim are available upon

request.

15. | Wachovia reserves the right to supplement, amend and modify its Proof of Claim.
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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF NEW JERSEY

In re:
Chapter 11

HERITAGE-TWIN PONDS I, LP.,
Case No. 09-11197 (GMB)
Debtor. (Jointly Administered with 09-11198)

ADDENDUM TO PROOF OF CLAIM

In support of its Proof of Claim, Wachovia Bank, National Association, (“Wachovia” or
“Agent”), on behalf of itself and as Agent for PNC Bank, National Association (“PNC”) and
Sovereign Bank, FSB (“Sovereign” together with PNC, the “Lenders”) states as follows:

1. Wachovia is a national banking association which maintains an office at 123
South Broad Street, Philadelphia, PA 19109.

2. On January 20, 2009 (the “Petition Date”), Heritage Highgate, Inc. (“Highgate”)
and Heritage-Twin Ponds II, L.P. (“Twin Ponds” and together with Highgate, the “Debtors”)
each filed a voluntary petition for relief under chapter 11 of title 11 of the United States Code
(the “Bankruptcy Code”) with the United States Bankruptcy Court for the District of New Jersey
(the “Bankruptcy Court”).

3. The Debtors’ chapter 11 cases are being jointly administered pursuant to an Order
entered by the Bankruptcy Court on F ebruary 20, 2009. The Debtors are acting as debtors-in-
possession and operating their businesses as such.

4, An Official Committee of Unsecured Creditors (the “Committee”) was appointed

in these cases on or about J anuary 29, 2009.

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5, The principal assets of the Debtors and collateral of the Agent and Lenders
consist of certain parcels of land located in Upper Macungie Township, Lehigh County,
Pennsylvania.

6. The Agent and Lenders are the primary secured creditors of the Debtors and hold
a first priority lien on the Collateral (as hereafter defined).

7. Agent, each of the Lenders and each of the Debtors are parties to that certain
Construction Loan Agreement dated as of September 26, 2005 which was subsequently amended
and restated pursuant to an Amended and Restated Construction Loan Agreement September 18,
2007 (as amended from time to time and including all annexes, exhibits and schedules thereto,
collectively, the “Loan Agreement”), pursuant to which the Lenders agreed to make cumulative
advances to Highgate in the aggregate principal amount of up to $28,000,000 to finance that
certain residential development project located in Upper Macungie Township, Lehigh County,
Pennsylvania (the “Project”). About two years after the initial loan was made, the cumulative
advance amount was increased to $54,000,000.

8. The obligations under the Loan Agreement are evidenced by Promissory Notes
dated September 26, 2005 payable to: (a) Wachovia Bank, National Association, in the amount
of $9,520,000; (b) Sovereign Bank, in the amount of $9,240,000; and (c) PNC Bank, National
Association, in the amount of $9,240,000.

9. To secure the obligations of Highgate under the Loan Agreement, Twin Ponds
executed that certain Indemnity Guaranty Agreement dated September 18, 2007 in favor of
Agent (the “Twin Ponds Guaranty”), pursuant to which Twin Ponds guaranteed the obligations

of Highgate to repay amounts due and owing to the Lenders under the Loan Documents.
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10. To secure the obligations of Twin Ponds under the Twin Ponds Guaranty, Twin
Ponds executed that certain Indemnity Open End Mortgage and Security Agreement dated as of
September 18, 2007 in favor of Agent (the “Twin Ponds Mortgage”), pursuant to which Twin
Ponds granted Agent, a lien on and security interest in certain real property located in Upper
Macungie Township, Lehigh County, Pennsylvania (the “Twin Ponds Real Property”), together
with, inter alia, any and all buildings and improvements erected thereon, fixtures, appliances,
machinery and equipment and other personal property, building materials, fixtures, building
machinery and building equipment located thereon, the proceeds or replacements of any of the
foregoing, and all contract rights in all agreements of sale affecting the Twin Ponds Real
Property or any part thereof (the “Twin Ponds Personal Property” and together with the Twin
Ponds Real Property, the “Twin Ponds Collateral”), The Twin Ponds Mortgage was recorded in
the Office of the Recorder of Deeds of Lehigh County, Pennsylvania on September 20, 2007,

Document Id. 744194].

11. To further secure the obligations of Twin Ponds under the Twin Ponds Guaranty,
Twin Ponds executed that certain Indemnity Collateral Assignment of Agreements Affecting
Real Estate dated as of September 18, 2007 (the “Twin Ponds Assignment of Real Estate
Agreements”), pursuant to which Twin Ponds assigned to Agent all of its right, title privileges,
and interest in and to all licenses, contracts, subcontracts, agreements, service agreements and
agreements of purchase and sale related to the Twin Ponds Real Property (the “Additional Twin
Ponds Collateral” and collectively with the Twin Ponds Collateral, the “Collateral”). The Twin
Ponds Assignment of Real Estate was recorded in the Office of the Recorder of Deeds of Lehigh

County on September 20, 2007, Document Id. 7441942.
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12. The Agent perfected its security interests in and liens on the Collateral by
recording in the office of the Recorder of Deeds of Lehigh County the Twin Ponds Mortgage and
the Twin Ponds Assignment of Real Estate Agreements.

13. As of the Petition Date, the total, aggregate amount owed by the Twin Ponds to
the Agent and Lenders under the Loan Documents is $16,488, 124.60, inclusive of $1,928,272.51
of undrawn letters of credit and $6,421.65 of letter of credit commissions and facing fees, plus
fees and expenses, including legal fees and expenses (collectively, the “Claim Amount”).

The amounts due and owing to the Agent and each of the Lenders, as of the

14,

Petition Date, are as follows:

Lender/Agent | Approximate | Pro Rata Share of
Percentage Claim Amount
Interest in (In Dollars)
Loan
Wachovia 34.0% $ 5,606,492.18
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Sovereign 33.0% $ 5,440,816.20
TOTAL 100% $16,488, 124.60

Copies of documentation evidencing Wachovia’s claim are available upon

Wachovia reserves the right to supplement, amend and modify its Proof of Claim.

